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                EXHIBIT 10
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                                                            UNITED STATES SECURITIES AND EXCHANGE COMMISSION
                                                                                                      Washington, D.C. 20549
                                                                                                            Form 10-K
                                                                            ANNUAL REPORT PURSUANT TO SECTION 13 OR 15(d)
                                                                               OF THE SECURITIES EXCHANGE ACT OF 1934
         (Mark One)
             "            ANNUAL REPORT PURSUANT TO SECTION 13 OR 15(d)
                          OF THE SECURITIES EXCHANGE ACT OF 1934
                          For the fiscal year ended December 29, 2007
                                                                                                                       OR
             o            TRANSITION REPORT PURSUANT TO SECTION 13 OR 15(d)
                          OF THE SECURITIES EXCHANGE ACT OF 1934
                          For the transition period from              to

                                                                                                  Commission File Number: 1-12203

                                                                                            Ingram Micro Inc.
                                                                                              (Exact name of Registrant as Specified in its Charter)
                                                      Delaware                                                                                                          XX-XXXXXXX
                                              (State or Other Jurisdiction of                                                                                           (I.R.S. Employer
                                             Incorporation or Organization)                                                                                            Identification No.)

                                                                                1600 E. ST. ANDREW PLACE, SANTA ANA, CALIFORNIA 92705
                                                                                           (Address, including Zip Code, of Principal Executive Offices)
                                                                                                               (714) 566-1000
                                                                                               (Registrant’s telephone number, including area code)

                                                                        SECURITIES REGISTERED PURSUANT TO SECTION 12(b) OF THE ACT:
                                                            Title of Each Class                                                                                                Name of Each Exchange on Which Registered
                                             Class A Common Stock,                                                                                                New York Stock Exchange
                                             Par Value $.01 Per Share
                                                                        SECURITIES REGISTERED PURSUANT TO SECTION 12(g) OF THE ACT:
                                                                                                  None
           Indicate by check mark if the registrant is a well-known seasoned issuer, as defined in Rule 405 of the Securities Act. Yes "                   No o
           Indicate by check mark if the registrant is not required to file reports pursuant to Section 13 or Section 15(d) of the Act. Yes o              No "
           Indicate by check mark whether the registrant (1) has filed all reports required to be filed by Section 13 or 15(d) of the Securities Exchange Act of 1934 during the preceding 12 months (or for such
     shorter period that the registrant was required to file such reports), and (2) has been subject to such filing requirements for the past 90 days. Yes " No o
           Indicate by check mark if disclosure of delinquent filers pursuant to Item 405 of Regulation S-K is not contained herein, and will not be contained, to the best of registrant’s knowledge, in definitive
     proxy or information statements incorporated by reference in Part III of this Form 10-K or any amendment to this Form 10-K. o
           Indicate by check mark whether the registrant is a large accelerated filer, an accelerated filer, a non-accelerated filer, or a smaller reporting company. See the definitions of “large accelerated filer,”
     “accelerated filer” and “smaller reporting company” in Rule 12b-2 of the Exchange Act. (Check one)
     Large Accelerated Filer "                                                  Accelerated Filer o                              Non-accelerated Filer o                                          Smaller Reporting Company o
                                                                                               (Do not check if a smaller reporting company)
           Indicate by check mark whether the registrant is a shell company (as defined in Rule 12b-2 of the Exchange Act). Yes o No "
          The aggregate market value of the voting stock held by non-affiliates of the registrant as of the last business day of the Registrant’s most recently completed second fiscal quarter, at June 29, 2007,
     was $3,271,671,013 based on the closing sale price on such date of $21.71 per share.
           The registrant had 174,706,293 shares of Class A Common Stock, par value $0.01 per share, outstanding at January 26, 2008.
                                                                                       DOCUMENTS INCORPORATED BY REFERENCE:
           Portions of the Proxy Statement for the registrant’s Annual Meeting of Shareowners to be held June 4, 2008 are incorporated by reference into Part III of this Annual Report on Form 10-K.
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           disruption or breach that compromised sensitive information, this could harm our relationship with our customers, suppliers or associates. Disruption of our website or the Internet in general
           could impair our order processing or more generally prevent our customers and suppliers from accessing information. This could cause us to lose business.
                   If a downturn in economic conditions continues for a long period of time or worsens, it will likely have an adverse impact on our business. The IT industry in general, and the
           IT products and services distribution industry in particular, experienced a severe downturn in demand for fiscal 2000 through most of fiscal 2003. This downturn resulted in a decline in our
           net sales and gross profit and impacted financial results of many of our customers and vendors. If a downturn in economic conditions continues or worsens, we may experience increased
           competitive pricing pressures, significant operating losses, elevated levels of obsolete inventory, inventory write-downs and larger bad debt losses. Economic downturns may also lead to
           restructuring actions and associated expenses. Delays or reductions in IT spending could have a material adverse effect on demand for our products and services, and consequently our results
           of operations, prospects and stock price. In addition, we may not be able to adequately adjust our cost structure in a timely fashion to remain competitive, which may cause our profitability to
           suffer.
                   Terminations of a supply or services agreement or a significant change in supplier terms or conditions of sale could negatively affect our operating margins, revenue or the
           level of capital required to fund our operations. A significant percentage of our net sales relates to products sold to us by relatively few suppliers or publishers. As a result of such
           concentration risk, terminations of supply or services agreements or a significant change in the terms or conditions of sale from one or more of our more significant partners could negatively
           affect our operating margins, revenues or the level of capital required to fund our operations. Our suppliers have the ability to make, and in the past have made, rapid and significantly
           adverse changes in their sales terms and conditions, such as reducing the amount of price protection and return rights as well as reducing the level of purchase discounts and rebates they
           make available to us. In most cases, we have no guaranteed price or delivery agreements with suppliers. In certain product categories, such as systems, limited price protection or return
           rights offered by suppliers may have a bearing on the amount of product we may be willing to stock. We expect restrictive supplier terms and conditions to continue in the foreseeable future.
           Our inability to pass through to our reseller customers the impact of these changes, as well as our failure to develop systems to manage ongoing supplier programs, could cause us to record
           inventory write-downs or other losses and could have a material negative impact on our gross margins.
                   We receive purchase discounts and rebates from suppliers based on various factors, including sales or purchase volume and breadth of customers. These purchase discounts and
           rebates may affect gross margins. Many purchase discounts from suppliers are based on percentage increases in sales of products. Our operating results could be negatively impacted if these
           rebates or discounts are reduced or eliminated or if our vendors significantly increase the complexity of process and costs for us to receive such rebates.
                    Our ability to obtain particular products or product lines in the required quantities and to fulfill customer orders on a timely basis is critical to our success. The IT industry experiences
           significant product supply shortages and customer order backlogs from time to time due to the inability of certain suppliers to supply certain products on a timely basis. As a result, we have
           experienced, and may in the future continue to experience, short-term shortages of specific products. In addition, suppliers who currently distribute their products through us may decide to
           shift to or substantially increase their existing distribution, through other distributors, their own dealer networks, or directly to resellers or end-users. Suppliers have, from time to time, made
           efforts to reduce the number of distributors with which they do business. This could result in more intense competition as distributors strive to secure distribution rights with these vendors,
           which could have an adverse effect on our operating results. If suppliers are not able to provide us with an adequate supply of products to fulfill our customer orders on a timely basis or we
           cannot


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                                                                                                                                                                                      EXHIBIT 31.1


                                                          CERTIFICATION BY PRINCIPAL EXECUTIVE OFFICER (SOX 302)
I, Gregory M. E. Spierkel, certify that:
       1. I have reviewed this annual report on Form 10-K of Ingram Micro Inc.;
       2. Based on my knowledge, this report does not contain any untrue statement of a material fact or omit to state a material fact necessary to make the statements made, in light of the
circumstances under which such statements were made, not misleading with respect to the period covered by this report;
        3. Based on my knowledge, the financial statements, and other financial information included in this report, fairly present in all material respects the financial condition, results of
operations and cash flows of the registrant as of, and for, the periods presented in this report;
       4. The registrant’s other certifying officer and I are responsible for establishing and maintaining disclosure controls and procedures (as defined in Exchange Act Rules 13a-15(e) and
15d-15(e)) and internal control over financial reporting (as defined in Exchange Act Rules 13a-15(f) and 15d-15(f)) for the registrant and have:
              (a) Designed such disclosure controls and procedures, or caused such disclosure controls and procedures to be designed under our supervision, to ensure that material
       information relating to the registrant, including its consolidated subsidiaries, is made known to us by others within those entities, particularly during the period in which this report is
       being prepared;
              (b) Designed such internal control over financial reporting, or caused such internal control over financial reporting to be designed under our supervision, to provide reasonable
       assurance regarding the reliability of financial reporting and the preparation of financial statements for external purposes in accordance with generally accepted accounting principles;
              (c) Evaluated the effectiveness of the registrant’s disclosure controls and procedures and presented in this report our conclusions about the effectiveness of the disclosure
       controls and procedures, as of the end of the period covered by this report based on such evaluation; and
               (d) Disclosed in this report any change in the registrant’s internal control over financial reporting that occurred during the registrant’s most recent fiscal quarter (the registrant’s
       fourth fiscal quarter in the case of an annual report) that has materially affected, or is reasonably likely to materially affect, the registrant’s internal control over financial
       reporting; and
        5. The registrant’s other certifying officer and I have disclosed, based on our most recent evaluation of internal control over financial reporting, to the registrant’s auditors and the
audit committee of the registrant’s board of directors (or persons performing the equivalent functions):
               (a) All significant deficiencies and material weaknesses in the design or operation of internal control over financial reporting which are reasonably likely to adversely affect the
       registrant’s ability to record, process, summarize and report financial information; and
               (b) Any fraud, whether or not material, that involves management or other employees who have a significant role in the registrant’s internal control over financial reporting.
Date: February 27, 2008


                                                                                                 /s/ Gregory M.E. Spierkel
                                                                                                 Title:        Chief Executive Officer
                                                                                                               (Principal Executive Officer)
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                                                                                                                                                                                      EXHIBIT 31.2


                                                           CERTIFICATION BY PRINCIPAL FINANCIAL OFFICER (SOX 302)
I, William D. Humes, certify that:
       1. I have reviewed this annual report on Form 10-K of Ingram Micro Inc.;
       2. Based on my knowledge, this report does not contain any untrue statement of a material fact or omit to state a material fact necessary to make the statements made, in light of the
circumstances under which such statements were made, not misleading with respect to the period covered by this report;
        3. Based on my knowledge, the financial statements, and other financial information included in this report, fairly present in all material respects the financial condition, results of
operations and cash flows of the registrant as of, and for, the periods presented in this report;
       4. The registrant’s other certifying officer and I are responsible for establishing and maintaining disclosure controls and procedures (as defined in Exchange Act Rules 13a-15(e) and
15d-15(e)) and internal control over financial reporting (as defined in Exchange Act Rules 13a-15(f) and 15d-15(f)) for the registrant and have:
              (a) Designed such disclosure controls and procedures, or caused such disclosure controls and procedures to be designed under our supervision, to ensure that material
       information relating to the registrant, including its consolidated subsidiaries, is made known to us by others within those entities, particularly during the period in which this report is
       being prepared;
              (b) Designed such internal control over financial reporting, or caused such internal control over financial reporting to be designed under our supervision, to provide reasonable
       assurance regarding the reliability of financial reporting and the preparation of financial statements for external purposes in accordance with generally accepted accounting principles;
              (c) Evaluated the effectiveness of the registrant’s disclosure controls and procedures and presented in this report our conclusions about the effectiveness of the disclosure
       controls and procedures, as of the end of the period covered by this report based on such evaluation; and
               (d) Disclosed in this report any change in the registrant’s internal control over financial reporting that occurred during the registrant’s most recent fiscal quarter (the registrant’s
       fourth fiscal quarter in the case of an annual report) that has materially affected, or is reasonably likely to materially affect, the registrant’s internal control over financial
       reporting; and
        5. The registrant’s other certifying officer and I have disclosed, based on our most recent evaluation of internal control over financial reporting, to the registrant’s auditors and the
audit committee of the registrant’s board of directors (or persons performing the equivalent functions):
               (a) All significant deficiencies and material weaknesses in the design or operation of internal control over financial reporting which are reasonably likely to adversely affect the
       registrant’s ability to record, process, summarize and report financial information; and
               (b) Any fraud, whether or not material, that involves management or other employees who have a significant role in the registrant’s internal control over financial reporting.
Date: February 27, 2008


                                                                                                 /s/ William D. Humes
                                                                                                 Name: William D. Humes
                                                                                                 Title:         Executive Vice President and
                                                                                                                Chief Financial Officer
                                                                                                                (Principal Financial Officer and
                                                                                                                Principal Accounting Officer)
